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                               UNITED ST ATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

   In the matter of: Civil Case Transfers to
   District Judge Melissa Damian

   Guasto v. The City of Miami Beach, et al.                  Case No: 1:22-cv-21004
   FEIGE v. Burrows                                           Case No: 1:22-cv-22086
   Nicolaidis v. Wave Life LLC                                Case No: 1:23-cv-20037
   Lee v. Carnival Corp.                                      Case No: l:23-cv-20148
   Vera v. Market Wood LLC                                    Case No: 1:23-cv-20285
   GS Holistic, LLC v. Mr. Smokey Corp.                       Case No: 1:23-cv-20599
   Shidler v. Carnival Corp.                                  Case No: 1:23-cv-21235
   Felton v. Virgin Crnises                                   Case No: 1:23-cv-21308
   Hughes-Jackson v. Carnival                                 Case No: 1:23-cv-24431
   Hastings v. Florida International Univ.                    Case No: 1:23-cv-24508
   Estes Express Lines v. ABM Electrical                      Case No: 1:24-cv-20376
   Mercer v. NCL                                              Case No: 1:24-cv-20450

                                    ORDER OF REASSIGNMENT

   The above-styled cases have been selected by the Clerk of Court utilizing a random selection

   procedure to insure the fair and impartial reassignment of cases from the undersigned District

   Judge to the newly appointed District Judge Melissa Damian. Prior to executing this Order, the

   undersigned has reviewed the files and has ruled upon all ripe pending motions that have not been

   referred to the paired Magistrate Judge, and are fully briefed, in accordance with the policy

   established by the Judges of the Southern District of Florida (See Internal Operating Procedures,

   Section 2.05.03 -2.05.04). It is hereby

             ORDERED that the above-styled action is hereby REASSIGNED to the calendar of the

   Honorable Melissa Damian as of Tuesday, March 19, 2024, for all fmiher proceedings. It is

   further

             ORDERED that all currently pending hearings set before the undersigned Judge are

   hereby TERMINATED and are to be rescheduled by District Judge Melissa Damian. It is

   further
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           ORDERED all deadlines will REMAIN IN EFFECT unless altered by District Judge

   Melissa Damian. It is further

           ORDERED that all pleadings hereafter filed shall bear the assigned case number followed

   by the initials MD in lieu of the present initials.

           DONE AND ORDERED in Chambers at Miami, Florida, this Tuesday, March 19,

   2024.




                                                   DARRIN P. GAYLES
                                                   UNITED STATES DIST




   c: All counsel of record/pro se parties




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